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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA


MERLIN KAUFFMAN,
an individual,                             Case No. 3:20-cv-00017-MMH-JBT

Plaintiff,

v.


TRANS-HIGH CORP.,
a New York corporation, and
HIGH TIMES HOLDING CORP.,
a Delaware corporation,

Defendants.
___________________________/

     HOWARD R. BEHAR AND SAMUEL M. SHELDON’S UNOPPOSED
       MOTION TO WITHDRAWAS COUNSEL FOR DEFENDANTS

        Howard R. Behar and Samuel M. Sheldon, both associated with The

 Behar Law Firm, P.A., located at 3323 NE 163rd St., Suite 402, N. Miami

 Beach, FL 33160 (collectively, “Undersigned Counsel”), counsel for

 Defendants, TRANS-HIGH CORP. and HIGH TIMES HOLDING CORP.,

 hereby move unopposed, pursuant to Local Rule 2.02 of this Court, for an

 Order permitting withdrawal of their representation of the Defendants in this

 action, and in support state:

       1.    On or about July 10, 2020, Undersigned Counsel appeared in this

action on behalf of the Defendants.

       2.    Irreconcilable differences have arisen between Undersigned
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counsel and Defendants that preclude Undersigned Counsel’s continued

representation of Defendants.

      3.     In compliance with Local Rule 2.02(c)(1), the undersigned

certifies that he provided fourteen days’ notice to the Defendants.

      4.     The requested withdrawal will not unduly delay this action, which

is not scheduled to be tried under December 2021.

      5.     Undersigned Counsel reasonably believe this withdrawal will not

cause undue prejudice to any party.

                    Local Rule 3.01(g) Certification

      6.     On June 10, 2021, Samuel M. Sheldon conferred with Plaintiff’s

counsel, Darren Spielman, who advised that Plaintiff does not oppose the relief

requested herein.

Date: June 11, 2021

                                              Respectfully submitted,

                                              The Behar Law Firm, P.A.
                                              Attorneys for Defendants
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                                              North Miami Beach, Florida 33160
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                                              s/ Samuel M. Sheldon
                                              Howard R. Behar
                                              Florida Bar No. 54471
                                              Samuel M. Sheldon
                                              Florida Bar No. 54088
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                        CERTIFICATE OF SERVICE

        HEREBY CERTIFY that on June 11, 2021, that the foregoing document
 is being filed via ECF and served this day on all counsel of record identified
 belowon the Service List via email.

                                           s/ Samuel M. Sheldon
                                           Samuel M. Sheldon

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